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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   LINDA C. HARTER, Bar #179741
     Chief Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   CHRISTOPHER JACKSON
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     NO. CR.S-11-054-GEB
                                     )
12                  Plaintiff,       )
                                     )      STIPULATION AND [PROPOSED] ORDER;
13        v.                         )         CONTINUING STATUS CONFERENCE
                                     )             AND EXCLUDING TIME
14   CHRISTOPHER JACKSON,            )
                                     )     Date: April 1, 2011
15                  Defendant.       )     Time: 9:00 a.m.
     _______________________________ )     Judge: Hon. Garland E. Burrell Jr.
16
17        IT IS HEREBY STIPULATED by and between the parties hereto through
18   their respective counsel, MATTHEW SEGAL, Assistant United States
19   Attorney, attorney for Plaintiff, and LINDA C. HARTER, attorney for
20   CHRISTOPHER JACKSON, that the status conference hearing date of
21   February 25, 2011 be vacated, and the matter be set for status
22   conference on April 1, 2011 at 9:00 a.m.
23          The reason for this continuance is the defendant needs
24   additional time to consult with and hire private counsel and the
25   government has recently provided a prodigious amount of discovery that
26   will have to be reviewed.
27        Based upon the foregoing, the parties agree that the time under
28   the Speedy Trial Act should be excluded from the date of signing of
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 1   this order through and including April 1, 2011 pursuant to 18 U.S.C.
 2   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local Code
 3   T4 based upon continuity of counsel and defense preparation.
 4
     DATED:   February 23, 2011.                     Respectfully submitted,
 5
                                                     DANIEL J. BRODERICK
 6                                                   Federal Public Defender
 7
 8                                                   /s/ Linda C. Harter
                                                     LINDA C. HARTER
 9                                                   Designated Counsel for Service
                                                     Attorney for CHRISTOPHER JACKSON
10
11   DATED:   February 23, 2011.                     BENJAMIN WAGNER
                                                     United States Attorney
12
13
                                                     /s/ Linda C. Harter for
14                                                   MATTHEW SEGAL
                                                     Assistant U.S. Attorney
15                                                   Attorney for Plaintiff
16
17
18                                    ORDER
19        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
20   ordered that the February 25, 2011,          status conference hearing be
21   continued to April 1, 2011, at 9:00 a.m.          Based on the representation
22   of defense counsel and good cause appearing there from, the Court
23   hereby finds that the failure to grant a continuance in this case would
24   deny defense counsel reasonable time necessary for effective
25   preparation, taking into account the exercise of due diligence.               The
26   Court finds that the ends of justice to be served by granting a
27   continuance outweigh the best interests of the public and the defendant
28   in a speedy trial.   It is ordered that time up to and including the


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 1   April 1, 2011 status conference shall be excluded from computation of
 2   time within which the trial of this matter must be commenced under the
 3   Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and
 4   Local Code T-4, to allow defense counsel reasonable time to prepare.
 5   Dated:   February 23, 2011
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 7                                     GARLAND E. BURRELL, JR.
 8                                     United States District Judge

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